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 3
 4                   IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                              FOR THE COUNTY OF JACKSON

 6   In the Matter of:

 7   HEIDI MARIE BROWN,                               Case No. 22DR17285
 8                        Petitioner,                 DECLARATION OF TERRENCE
                                                      RICHOUX ABOUT REGISTRATION
 9          and                                       (EXEQUATUR) OF A US JUDGMENT
                                                      IN FRANCE
10   ARNAUD PARIS,
11                        Respondent.
12

13   1.     My name is Terence RICHOUX. I am a licensed and practicing attorney at law in

14   Paris, France specialized in international private international law, especially the

15   enforcement of foreign family judgments in France. I represented Mr. Arnaud Paris in a

16   court case before the family judge of the Paris Court. That case was against Ms. Heidi

17   Brown. The claims adjudicated by the French court concerned the care, custody, and

18   control of the minor children of the parties, rights of visitation as well as support as

19   appropriate between the parties for their minor children. The court granted full custody of

20   the children to Mr. Arnaud PARIS on April 21, 2023.
21   2.     The recognition and enforcement of a foreign judgment in France goes through a
22   specific process called Exequatur.
23   3.     Exequatur refers to both the procedure and the writ of execution, which are used
24   when a foreign Judgment needs to be enforced in France. This terminology is mostly used
25   in Latin countries such as France, Spain, Italy and Portugal.
26   //


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     REGISTRATION OF A CUSTODY US JUDGMENT IN FRANCE

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 1   4.     All foreign Judgments, court decisions or arbitral awards are not automatically

 2   enforceable in France. It is an essential issue for many foreigners who want to assert their

 3   rights in in the country since, without an official recognition, the Judgment they obtained

 4   will have no effect.
 5   5.     The exequatur proceeding is governed by French law and international treaties.

 6   Although a new treaty has been signed by France and the US, at the time of this affidavit

 7   it has not been ratified in the US.
 8   6.     Foreign judgments regarding custody rights can be automatically recognized and

 9   enforced in France in some cases. However, it is not the case when France already ruled

1O on the same subject matter. Therefore, for a US custodial decision to be valid in France

11   it has to go through the French process of exequatur.

12   7.     Article 509 of the French Code of civil procedure provides that: Judgements

13   rendered by foreign Courts and deeds received by foreign officers shall be enforceable

14   on the territory of the French Republic in the manner and under the circumstances

15   specified by Jaw.

16   8.     This article is interpreted and completed by the decisions of the Gour de cassation

17   (the French Supreme Court). In the 2007 Cornelissen case (Cornelissen Cass.Civ

18   February 20th , 2007 n°05-14082), the Gour de cassation ruled that French courts must
19   verify that the foreign Judgment meets 3 conditions. The French judge will verify that:

20          A) The foreign Court has proper jurisdiction under French law,

21          B) The foreign Judgment complies with French procedural and substantive

22              public policies,
23          C) The foreign Judgment was rendered without fraudulent forum shopping
24              (evasion of the law)

25   9.     These 3 conditions apply cumulatively which means that the foreign Judgment's

26   recognition will be denied if one of them is not met. The conditions set forth in the 2007


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 1   Cornelissen case apply in the absence of international treaties which is the case for the

 2   US.
 3   10.    There is no automatic way to register a foreign 'custodial determination in France

 4   like it is the case in the US with the UCCJEA statutes, in which someone can simply

 5   register that judgment and if the other party doesn't object to that registration, it becomes

 6   automatically accepted and enforceable, in full force and effect as if it was a custodial

 7   determination of that state.

 8   11.    Firstly, as in all matters, it is the judge's duty to verify the international regularity of

 9   decisions rendered in matters of civil status. (Civ. 1st, January 29, 2014, No. 12-28.953),

1O this verification bearing on the same conditions as for exequatur (Civ. 1st, January 7,

11   1964, Munzer, JCP G 1967, II, 13590, Civ. 1st, February 20, 2007, No. 05-14.082,

12   Cornelissen).

13   12.    This verification must take place automatically, even in the absence of contestation

14   by the parties, as the Court of Cassation explicitly stated, declaring that the French judge

15   "must, ex officio, verify whether the foreign decision meets the conditions required to be

16   declared enforceable in France and note the result of his examination in his decision"

17   (Civ. 1st, November 9, 1971: JCP G 1971, IV, p.292).

18   13.    The process of exequatur in France has to be approved by a French judge, and

19   for the US, it even involves the participation of the French District Attorney.
20   14.    As a result, in all cases, the parties can't agree to have a judgement

21   registered in France on their own without the validation of a French Judge.

22   15.    Which means that for a US custodial decision to be valid in France, a French judge,
23   after receiving the analysis of the DA, will have to ensure that all of the three conditions
24   stated above are met for a contradictory US judgment to be recognized and

25   enforced in France.

26   II


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 1   16.     And this is true even if both parties seek to register and enforce a US

 2   judgment in France.
 3   17.     Miss Brown's judgment requires that for Mr. Paris, to be allowed to see his children

 4   in Oregon, he will have to register in France that Oregon judgment from December 28 th ,

 5   2023.
 6   18.     The fact that a French Court already ruled that it has proper jurisdiction in this

 7   particular custodial case means that the first condition of the Cornelissen case is not met.

 8   19.     Furthermore, the fact that Mr. PARIS was not allowed to defend himself, either

 9   personally or through his lawyer, constitutes a violation of the adversarial principle and

1O the rights of defense, and therefore a violation of French international public order.

11   20.     Therefore, the second condition of the Cornelissen case is not met.

12   21.     It is my opinion that even if the parties were to not argue for or against the

13   recognition and enforcement of the Oregon judgment, French courts would consider, on

14   their own, that at least two out three conditions set forth by the Cornelissen case are not

15   met.
16   22.     It is highly unlikely that a French Court would validate a US judgment obtained

17   under these conditions, even if Mr. Paris were to agree to the registration as it is out of

18   the parties' control.
19   23.     I hereby declare that the above statement is true to the best of my knowledge and

20   belief, and that I understand it is made for use as evidence in court and is subject to

21   penalty for perjury.

22           Dated: May 27th, 2024

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25
                                       By: Terence RICHOUX
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